
75 So. 3d 406 (2011)
Anquon Travon NORFLEET, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-3524.
District Court of Appeal of Florida, Fifth District.
December 2, 2011.
Anquon Travon Norfleet, Blountstown, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal, filed October 17, 2011, is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case no. 10-CF-007123-C-O, in the Circuit Court in and for Orange County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
ORFINGER, C.J., SAWAYA and LAWSON, JJ., concur.
